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UNITED STATES DISTRICT COURT. _
SOUTHERN DISTRICT OF NEW YORK

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In Re TERRORIST ATTACKS on ) 03 MDL 15 fens
SEPTEMBER 11, 2001 ) ECE Case

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This document relates ta:

Estate of Jobn P. O'Netél, et al. v. Republic of Iraq, et al, 04-CV-1076(@8D)
Estate of John P. O'Neill, et al. v. Kingdom of Saudi Arabia, et al. 04-CV-1922 (480)
Estate of Jobn P. O'Neill, al 2, Al Baraka Inv. & Dev. Corp., et al, 04-CV-1923 680 )

ORDER

This matter came before the Court on Motion by the Law Offices of Jerry S.
Goldman & Associates, P.C. to remove Gina M. MacNeill, Esquire as an attorney of
record in the above captioned matters.

Good cause being shown, it is hereby ORDERED that Gina M. MacNeill, Esquire
is relieved as an attorney of record for the above captioned matters.

It is further ORDERED that appearances of Jerry S. Goldman, Esquire, Fred
Salek, Esquire, and Joshua Ambush, Esquire for the above referenced actions will remain

unchanged.

ENTERED:

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HON. GEORGE B. DANIELS

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